      Case: 5:16-cr-00019-DCR-EBA Doc #: 37 Filed: 10/06/23 Page: 1 of 2 - Page ID#: 147
!'ROB 12C
(Rev. 6/22)



                                       UNITED STATES DISTRICT COURT                                                 as
                                                                     for

                                           EASTERN DISTRICT OF KENTUCKY

                          Petition for Warrant or Summons for Person Under Supervision

  Name of Offender:            Ronald Anthony Warren, Jr.                     Case Number:     5:16-CR-019-DCR-01

  Register/USM Number:               20750-032

  Name of Presiding Judicial Officer:              Honorable Danny C. Reeves, Chief U.S. District Judge
                                                   (Originally: Joseph M. Hood)

  Date of Original Sentence:            July 18, 2016

  Original Offense:           Possession with Intent to Distribute Less than 50 Kilograms of Marijuana;
                              Use and Carry of a Firearm in Furtherance of a Drng Trafficking Crime;
                              Possession of a Firearm by Convicted Felon

 Original Sentence:            81 months imprisonment, with three years of supervised release to follow

 Type of Supervision:            Supervised Release                   Date Supervision Commenced:     10/04/2021

 Assistant U.S. Attorney:             Hydee R. Hawkins                 Defense Attorney:   James Lowry IV



                                                        PETITIONING THE COURT

□     To issue a warrant
[g]   To issue a summons


The probation officer believes that the person under supervision has violated the following condition(s) of supervision:

Violation No.            Nature of Noncompliance
       I                 Violation of federal, state, or local law
          2              Illegal use of a controlled substance
          3              Commission of a crime

U.S. Probation Officer Recommendation:

□     The tern, of supervision should be:

      □       revoked.
      □       extended for _ _ years, for a total te1m of _ _ years.


D The conditions of supervision should be modified as follows:
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 RE: Warren, Ronald Anthony Jr.
     Dkt. # 5:16-CR-019-DCR-0l
     PROB 12C




                                                      I declare under penalty of perjury that the foregoing is true and correct.

                                                                               Executed on October 6, 2023




                                                                               Glenn C. Collins
                                                                               Senior U.S. Probation Officer




 THE COURT ORDERS:

 D No action.
     The issuance of a warrant (Matter Sealed Pending Arrest).

)>( The issuance of a summons. /-<'""   ,!tJ,<Z •~   de-,( d
 D Refer to presiding Magistrate Judge for hearing and preparation
   of a Report and Recommendation.
i•Forward a copy of violation report to U.S. Attorney's Office.

 D Other
